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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




IN RE BED BATH & BEYOND                                   Case No. 1:22-cv-2541-TNM
CORPORATION SECURITIES LITIGATION
                                                          CLASS ACTION




THIS DOCUMENT RELATES TO: ALL ACTIONS

                                 NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Jared M. Gerber of Cleary Gottlieb Steen & Hamilton

LLP, admitted to practice in this Court, hereby enters an appearance in the above-captioned

action as counsel for Defendant Bed Bath & Beyond Inc. (improperly named in the Complaint as

Bed Bath & Beyond Corporation) and respectfully requests that all pleadings, notices, orders,

correspondence and other papers in connection with this action be directed to the undersigned at

the office set forth below or through the Court’s electronic filing system.

Dated:      December 30, 2022
            New York, New York


                                          CLEARY GOTTLIEB STEEN & HAMILTON LLP

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